Case 13-25272-VFP   Doc 44   Filed 04/23/15 Entered 04/23/15 12:20:28   Desc Main
                             Document     Page 1 of 6
Case 13-25272-VFP   Doc 44   Filed 04/23/15 Entered 04/23/15 12:20:28   Desc Main
                             Document     Page 2 of 6
Case 13-25272-VFP   Doc 44   Filed 04/23/15 Entered 04/23/15 12:20:28   Desc Main
                             Document     Page 3 of 6
Case 13-25272-VFP   Doc 44   Filed 04/23/15 Entered 04/23/15 12:20:28   Desc Main
                             Document     Page 4 of 6
Case 13-25272-VFP   Doc 44   Filed 04/23/15 Entered 04/23/15 12:20:28   Desc Main
                             Document     Page 5 of 6
Case 13-25272-VFP   Doc 44   Filed 04/23/15 Entered 04/23/15 12:20:28   Desc Main
                             Document     Page 6 of 6
